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E.D.Pa. AO Pro Se 14 ( Rev. 01/21) Complaint for Violation of Civil Rights

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

Case No. 23-CV-3300

(to be filled in by the Clerk’s Office)

Demon A. Renson

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

Delauace County Sherif hn Doe)
One ancl Shee Sohn Doe Two j

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Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concems resulting from public access to electronic court files. Under this rule,
papers filed with the court should not contain: an individual’s full social security number or full birth date; the full name of a person known to be a
minor; or a complete financial account number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any other materials to the Clerk’s Office with
this complaint.

The Clerk will not file a civil complaint unless the person seeking relief pays the entire filing fee (currently $350) and an administrative fee (currently
$52) in advance, or the person applies for and is granted in forma pauperis status pursuant to 28 U.S.C. § 1915. A prisoner who seeks to proceed in
forma pauperis must submit to the Clerk (1) a completed affidavit of poverty and (2) a copy of the trust fund account statement for the prisoner for the
six month period immediately preceding the filing of the complaint, obtained from and certified as correct by the appropriate official of each prison at
which the prisoner is or was confined for the preceding six months. See 28 U.S.C. § 1915(a)(2).

If the Judge enters an order granting a prisoner’s application to proceed in forma pauperis, then the order will assess the filing fee (currently $350)
against the prisoner and collect the fee by directing the agency having custody of the prisoner to deduct an initial partial filing fee equal to 20% of the
greater of the average monthly deposits to the prison account or the average monthly balance in the prison account for the six-month period immediately
preceding the filing of the complaint, as well as monthly installment payments equal to 20% of the preceding month’s income credited to the account for
each month that the balance of the account exceeds $10.00, until the entire filing fee has been paid. See 28 U.S.C. § 1915(b). A prisoner who is
granted leave to proceed in forma pauperis is obligated to pay the entire filing fee regardless of the outcome of the proceeding, and is not
entitled to the return of any payments made toward the fee.

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
All other names by which
you have been known:
ID Number

Current Institution
Address

B. The Defendant(s)

Damon A. Benson a.k. ue.

Martin Fuller

YS-9Oae

SCL- Fraackvi [le
T- Feackuille

| aMMNE et (Sd.

Fanckyille PA 1793
City State Zip Code

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (ifknown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
Name
Job or Title (if known)
Shield Number
Employer
Address

Defendant No. 2
Name
Job or Title (if known)
Shield Number
Employer
Address

Sherik?} Sohn Doe One
Delarcveré Coanty Sherif
Unknown f

Delaware Cou utyS he rife De pt ;

- City State Zip Code
ferries capacity [ | Official capacity

Shercft John Doe Turo
Delaware County Sheriff
Unknow
Delaware Cou neby Sheriff De Pt:

City State
cael capacity [| Official capacity

Zip Code

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Il.

Defendant No. 3
Name
Job or Title (if known)
Shield Number
Employer
Address

City State Zip Code
[] Individual capacity [ | Official capacity

Defendant No. 4
Name
Job or Title (if known)
Shield Number
Employer
Address

City State Zip Code
[] Individual capacity a Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights,

A.

Are you bringing suit against (check all that apply):

[| Federal officials (a Bivens claim)

Koo local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by

the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

gth 4 4A Amendment of 0.5 Const

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

II. Prisoner Status

Pe en, you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee
LJ Civilly committed detainee
[al Immigration detainee
fale conver and sentenced state prisoner

lal Convicted and sentenced federal prisoner

el Other (explain)

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

Inside of thas port vehicle while besnsy [anspor ed

B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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C. What date and approximate time did the events giving rise to your claim(s) occur?
H{-1%-2093-
D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

CH Denied 3éathel/t oi Salty ye cCouhiauenSidé mone.
vehicle DDdenied proper medical trea merct @) Asked _
Sher €# driving to Slowdown while drivinn erradiéall

down the hiahl) they (aughal andcentined to de ee

a hiah speed G) Headand bedy pumn, hy windaw avid
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a mnie ee Pe Hh vy a Uri nated blocd at G.W.H.C. F dhes lees

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

(7) Kkead ond [ewer hack Eig MA
(2) Bleedi ne Gina Pe ny a

(3) Mental Po1r' 2 Ano

fy Feo ot Polite.

(Emotional Stress

VI. ——iRelief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

| ‘ J ( Gyan
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violotron of! both my 3th 32 14th adnan CenS

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VII. Exhaustion of Administrative Remedies Administrative Procedures
The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

[thes
[| No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the

events giving rise to your claim(s).
TT weg being tRANS yorted Lrom SCT- Smt +HyFPreld

he Geer ae W. Hall Correction a| Fos eility

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

[ee Yes

met

[J Do not know

G. Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

le] Yes
[| Do not know

If yes, which claim(s)?

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D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

EF] Yes

a

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[| Yes
[ao

E. If you did file a grievance:

1. Where did you file the grievance?

L did not heaause this was clee ly
Civi [matter whieh b Lr ccc nothing to do LO th

ether Correct ental aay i { ie 7,

2. What did you claim in your grievance?

3. What was the result, if any?

4, What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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F, If you did not file a grievance:
1. Ifthere are any reasons why you did not file a grievance, state them here:

nee av aN it had absolutely nothin & to
do with @unU.C.F.

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

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ond medical Statt,

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

Se

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VII. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

[_] Yes =

No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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A.

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[Yes
[_] No

If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiffs) Qowon 4. Denon
Defendant(s) Do [oa wave Cou hy Sher fl De pac tment

2. Court (if federal court, name the district; if state court, name the county and State)
Eastern Dittuet Cougt

3. Docket or index number

#O- C= Soe?

4. Name of Judge assigned to your case

Duan R. Sanehez

5. Approximate date of filing lawsuit
Sb pt:
6. Is the case still pending?

[eal Yes

If no, give the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

Honourable Sudge Suan R. Sanchéz yA [low24 Me
ty ré-amend this particular Case

Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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(7 ves
ea No

D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit

Plaintiffs) Ty men A. Benson

Defendant(s) Ceocae UH, WCorrecteno-| Force i lity
<<

2. Court (if federal court, name the district; if state court, name the county and State)

Fastean Dietriet Court
Docket or index number

Des Boa.
4. Name of Judge assigned to your case

Honourable \udoe Sua R. So weher

we

5. Approximate date of filing lawsuit

Se pt.

Ts the case still pending?

[ase
[ ]No

If no, give the approximate date of disposition

as

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

That particular Case hod been disimi SSed,

howeeveryT had been allow él to amend Said
Case) which LT did.

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TX,

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A, For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:
Signature of Plaintiff hl Baie pale ae
Printed Name of Plainti O4 MG Tae | i , OM? 0 Fal

Prison Identification #

Prison Address Sere [ ie e “lAltamont Blvd
FaneKk ui lle PE 1793!

City State Zip Code

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney
Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

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PLAINTIFF'S BRIEF

THIS IS A BRIEF SUMMERY BASED ON THE FACTS DEALING WITH THE SITUATION PARTAINING
TO THE LITIGATION CASE: DAMON BENSON V. DELAWARE COUNTY SHERIFF JOHN DOE ONE &
SHERIFF JOHN DOE TWO-CASE NO. 23-CV-3300. NAMES AND BADGE NUMBERS WILL BE
PRODUCED THROUGH WAY OF SUBPOENAS AND DISCOVERY ON A LATER DATE AS THE COURTS
DEEM FIT. THIS, HOWEVER, IS THE SECOND AMENDED CLAIM BRIEF WHICH WILL GIVE A DETAIL
DISCRIPTION ON THE INCIDENT WHICH OCCURRED ON A TRANSPORT DETAIL; WHILE THE
PLAINTIFF WAS BEING TRANSPORTED FROM ONE CORRECTIONAL FACILITY TO ANOTHER,
WITHOUT BEING PROPERLY SEATBELTED IN THE TRANSPORT VEHICLE. THIS, A SHOWING OF
UNPROFESSIONALISM, LEAD TO THE PLAINTIFF SUSTAINING INJURIES TO HIS HEAD, LOWER
BACK AND KIDNEY AREA BECUASE OF THEIR NEGLIGENCE.

FACTUAL POINTS:
DATE: 11-18-22

i. SCI-SMITHFIELD MEDICAL RECORDS WILL SHOW THAT THE PLAINTIFF, DAMON A. BENSON
a.k.a. MARTIN FULLER JS-9622 WAS IN GOOD PHYSICAL CONDITION WHEN HE LEFT THEIR
CUSTODY AND PRISON FACILITY.

ii, GEORGE W. HILL, CORRECTIONAL FACILITY'S MEDICAL DEPARTMENT AND INTAKE
DEPARTMENT WILL SHOW THAT THE PLAINTIFF, DAMON A. BENSON WAS NOT IN THE SAME
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PHYSICAL CONDITION WHEN HE ARRIVED 4HRS. LATER.

EVENTS:

1. 11-18-2022 PLAINTIFF, DAMON A. BENSON a.k.a. MARTIN FULLER JS 9622, WAS DETAINED
BY DELAWARE COUNTY SHERIFF DEPARTMENT EMPLOYEE'S AND THE TWO DEFENDANTS:
SHERIFF JOHN DOE ONE AND SHERIFF JOHN DOE TWO; OFFICERS WHO WERE ON TRANSPORT
DETAIL THAT PARTICULAR DAY.

2. WHILE THE PLAINTIFF WAS BEING SHACKLED HE ASKED BOTH THE DEFENDANTS: "WHY AM |
BEING DETAINED?" SHERIFF JOHN DOE'S RESPONSE: " YOU ARE, MARTIN FULLER #59622,
RIGHT?" BENSON REPLIED: "NO! I'M DAMON BENSON #JS-9622. MARTIN FULLER IS AN ALIAS |
‘USED MANY YEARS AGO. WHY?"

3. THEY BOTH REPLIED: "YOU'RE WANTED DOWN IN DELAWARE COUNTY , FOR COUNTERFIET ;
MONEYS...YEAH AND RELATED CHARGES!" PLAINTIFF REPLIED: "BUT | NEVER EVEN BEEN TO
DELAWARE COUNTY..." THEY LAUGHTED AND SHERIFF JOHN DOE TWO SAYS: " YEAH THATS

WHAT THEY ALL SAY!"

4. THE PLAINTIFF WAS THEN TAKEN OUTSIDE OF SCI-SMITHFIELD'S HOLDING YARD AND
USHERED INSIDE OF THE AWAITING TRANSPORT VEHICAL. "GET IN THERE AND LAY BACK AND
ENJOY THE RIDE..." SAID SHERIFF JOHN DOE ONE WHO WAS AN AFRICAAN AMERICAN MALE
OFFICER. HE THEN SMILED AND SLAMMED THE REAR DOOR SHUT!

5. "YEAH;' CHIMED SHREIFF JOHN DOE TWO WHO WAS THE DRIVER," ENJOY THE RIDE!" HE
SAID WITH A SNICKER.

6. THE PLAINTIFF ASKED: "WELL AREN'T YOU GONNA AT LEAAST PUT ON MY SEAATBELT..."
THEY BOTH REPLIED: "NAA...YOU'LL BE ALRIGHT..." "YEAH, YOU'LL BE JUST FINE!" AND THE

DRIVER PULLED OFF...

7, SHERIFF JOHN DOE TWO WAS DRIVING ERRADICALLY, LIKE A WILD MAN, TO THE POINT HE
WAS HITTING NUMEROUS POTHOLE AS THE PLAINTIFF BOUNCING AROUND IN THEE BACK OF
THE SPEEDING VEHICLE: HEAD BANGING UP AGAINST THE WINDOW, WITH THE LOOSE
SEATBELT BUCKLE POUNDING UP AGAAINST HIS KIDNEY AREA REPEATEDLY. THE PLAINTIFF
CRIED: "DAMN MAN; YOU NEED TO SLOW DOWN UP THERE!" BOTH OF THEIR RESPONSE WAS:
"YOU COMPLAIN TO MUCH!" AND LAUGHTED OUT LOUDLY BEFORE ONE OF THEM TURNED UP
THE RADIO TO DROWN OUT THE SCARED MAN'S CRY OF DISTRESS.

8. 4 HOURS LATER AFTER THE PLAINTIFF COMPLAINED THE ENTIRE RIDE OF HIS SUDDEN HEAD
ACHES AND LOWER BACK PAINS; HE TOLD BOTH OFFICERS THAT HE WAS WASN'T FEELING

z
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WELL AFTER THEE RIDE FROM HELL. HOWEVER, ALL EITHER ONE OF THEM COULD AAY WAS:
"TALK TO MEDICAL BUDDY...MAYBE THEY'LL GIVE YOU A MOTRIN OR SOMETHIN!" AND
LAUGHED AS THEY LEFT THE INSTITUTION.

9, AFTER THE INTAKE PROCESS THE PLAINTIFF WAAS ALLOWED TO USE THE RESTROOM WHERE
HE BEGAN TO URINATE BLOOD!

10. THE ENTIRE INTAKE STAFF WENT BALIISTIC AFTER WITNESSING THE PLAINTIFF CRYING IN
AGONY STANDING BEFORE THM WITH BLOOD COVERING HIS BOXER SHORT!

11. G.W.H.C.F., MEDICAL DEPARTMENT HAS RECORDS OF THE INCIDENT, WHERE THERE WAS
TEST OF URNALISIS, EX-RAY AND ULTRA SOUND SHOWING THAT THE PLAINTIFFS, DAMON A.
BENSON SUSTAINDED INJURIES BY WAAY OF SHERIFFS TRANSPORT.

12. THIS WAS A CLEAR CASE OF DELIBERENCE INDIFFERENCCE...SEE: FARMER V. BRENNAN
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SEE: GREGG V. GEORGIA, 428 U.S.153, 173 (1976) also,
SEE: FARMER V. BRENNAN, 511 U.S. 825, 837 (1994) also,

SEE: HUDDSON V. McMILLIAN, 503 U.S. 1, 9 (1992)

THERE IS NO EXPECTATION THAT A PRISONER WILL BE PROVIDED UNQUALIFIED ACCESS
TO MEDICAL TREATMENT. IN THE CASE NO. 23-CV-3300, DAMON A. BENSON V. DELAWARE
COUNTY SHERIFF JOHN DOE ONE & SHERIFF JOHN DOE TWO: THERE WAS "SUBJECTIVE
RECKLESSNESS" IN THE FACE OF A SERIOUS MEDICAL CONDITION; WHERE THE INMATE
SUSTAINED INJURIES TO HIS HEAD, LOWER BACK AND KIDNEY AREA. YET, NEITHER SHERIFF
JOHN DOE ONE, NOR SHERIFF JOHN DOE TWO, DID ANYTHING TO RECTIFY,OR FIX THE
SITUATION; EITHER IN THE BEGINNING OF THE TRANSPORT TIP, OR WHILE THEY WERE IN
ROUTE, OR AT THIR FINAL DESTINATION, WHICH WAS AT GEORGE W. HILL, CORRECTIONAL
FACILITY. ALL EITHER OF THE DEFENDANTS DID WAS MAKE WISE CRACKS, SLY REMARKS AND
LAUGHTER.

(TELLING AN INJURED PERSON" GO SEE MEDICAL...MAYBE THE'LL GIVE YOU A MOTRIN." IS .
NOT THE SAME AS RUSHING SOMEONE TO OBTAIN MEDIAL TREAMENT, OR INFORMING
INTAKE OF THE PERSON'S NEED FOR MEDICAL TREAMENT! HOWEVER, THE PLAINTIFF,
DAMON A. BENSON a.k.a. MARTIN FULLER JS-9622 WAS SUFFERING AS HE COMPLAINED 'THE
ENTIRE TIME' ABOUT NOT BEING SAFELY SECURED IN THE PASSENGER AREA AND BECASUE OF
IT, AT THE TIME; ALTHOUGH UNKNOWN TO HIM, HE WAS RECEIVING DAMAGING BLOWS TO
HIS KIDNEY AREA, AND OTHER LIFE THREATNING INJURIES.

TRUE "SUBJECTIVE RECKLESNESS" REQUIRES KNOWLEDGE BOTH THE GENERAL RISK,
AND ALSO THAT THE CONDUCT IS INAPPROPRIATE IN LIGHT OF THE RISK. SEE; RICH V. BRUCE,
129 F, 3D 336, 340 N. 2. (4TH CIR. 1997). BOTH THE DEFNDANTS IN THIS CASE KNEW OF THE
RISK OF HAVING A "DEFENSELES INMATE" IN THEIR CUSTODY: (PLACED IN LEG IRONS,
SHACKLED AND CHAINED), INSIDE OF A MOVING VEHICLE, WITHOUT A SEATBELT COULD
BRING ABOUT POSIBLE BODILY INJURIES. THEY WERE PROFESIONAL IN THE FIELD OF
TRANSPORTING INMATE: {OTHERWISE THEY WOULD NOT HAVE BEEN PLACE IN THIS
POSITION.} ‘ALTHOUGH NOT FATAL, | COULD ONLY IMAGINE WHAT, FREDDY GRAY, WENT
THROUGH!

ACTUAL KNOWLEDGE OR AWARENESS ON THE PART OF THE ALLEGED INFLICTER BECOMES
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PROOF OF "DELIBERATE INDIFFERENCE" SEE: BRICE V. VAGINIA BEACH CORRECTIONAL
_CENTER. AGAIN, BOTH DEFENDANT WERE LICENSED DRIVERS, PROFESSIONALS IN THE FIELD OF
TRANSPORTING PRISONER'S, AND ALSO PROFESSIONAL IN THE FIELD OF LAW ENFORCEMENT.
YET, IN THIS CASE, THEY DID MORE HARM THAN GOOD IN THEIR TRANPOORT DETAIL:

TO WHERE (1)THEY FIRST REFUSED TO SEATBELT THEIR PASSENGER IN THE TRANSPORT
VEHICLE WHEN HE ASKED THEM ABOUT IT. (2) WHEN HE COMPLAINED, THEY DISREGARDED
HIS REQUEST FOR SAFETY. (3) THEY MADE INAPPROPRIATE COMMENT IN LIGHT OF IT. HIM
BOUNCING AROUND IN THE BACK OF THE TRANSPORT VAN, AS HIS HEAD SLAMMED. UP
AGAINST THE SIDE WINDOW AND BEING PUMMELED IN THE LOWER BACK. (4) THERE WAS
RECKLESS DRIVING, GOING BEYOND THE SPEED LIMITS, HITTING NUMEROUS POT HOLE AND
SUCH. AND (5) THE PLAINTIFF, SUSTAINED INJURIES BECAUSE OF IT.

FINALLY, IT 1S MANICIPLE POLICY AND PROTOCOL IN BOTH, THE DELAWARE COUNTY SHERIFFS
DEPARTMENT, AND ITS SISTER COUNTY: PHILADELPHIA COUNTY SHERIFF DEPARTMENT,
ALONG WITH COUNTLESS OTHER LAW ENFORCEMENT AGENCIES: TO SEATBELT AND TO SAFELY
SECURE AN INMATE------- FOR NOT ONLY HIS OR HER SAFETY, BUT FOR THEIR OWN SAFETY,
AND THE SAFETY FOR THE PUBLIC! (POLICY: CARE, CUSTODY AND CONTROL.)HOWEVER,
NEITHER OF THE TWO DEFENDANTS FOLLOWED POLICY AND PROTOCOL WHICH LEAD UP TO
THE POINT OF NEGLIGNCE, WHICH OPENLY VIOLATED THE PLAINTIFFS CIVIL LIBERTIES.

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